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UNITED STATES DlSTR|CT COURT
M|DDLE DISTRICT OF FLOR|DA
JACKSONV|LLE DlVlSlON
JAMES ALEXANDER LOGAN,
Plainti\‘fl
v. Case No. 3:07-cv-'l‘l56~J-JBT
CAPT. A. P. SMITl-l, et al.,

Defendants.

 

VERD|CT FORIV|
WE THE JURY unanimously return the following verdict:
Do you find from a preponderance of the evidence:
‘l. That, on August 30, 2007, each defendant listed below intentionally committed acts

that violated the Plaintiff's constitutional right not to be subjected to excessive or
unreasonable force?

A. Andrew P. smith Yes _ No 4
B R. J. Bonsa|l YES _ NO '/_
c. Mrchael alley YEs _ No ,\/_
D Darre|l Kennington YES _ NO _L
E. oaren williams YEs __ No \/_
F. Jason silcox YEs _ No _\/__

STOP AND READ CAREFULLY: lf you answered "YES” to any part of question 1 , continue
to question 2. if you answered "NO" to all parts of question 1, skip the next question and
proceed to question 3.

2, That, on August 30, 2007, each defendant listed below had the ability to intervene
to stop the excessive or unreasonable force, but intentionally failed to intervene?

A. Andrew P. Smith YES NO

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B. R. J. Bonsal| YES
C. l‘vlichael Riley YES
D. Darrell Kennington YES
E. Daren Wi|liams YES
F. Jason Si|cox YES
G. K. N. Lingis YES
H. W. Godwin YES
l. T. A. Fow|er YES

J. Nurse T. lVl. Parrish YES

[Continue to the next question.]

NO

NO

NO

NO

NO

NO

NO

NO

NO

3. That1 on August 30, 2007, each defendant listed below intentionally committed the

tort of assault under F|orida law on the Plaintiff?

A.

!`“53.0!1"

F.

Andrew P. Smith
R. J. Bonsall
Michael Ri|ey
Darrell Kennington
Daren Williams

Jason Silcox

YEs _ No _/
YEs d No L
YEs _ No L,
YEs _ No _./_
YEs _ No L
YEs No L

[Continue to the next question.]

4. That, on August 30, 2007, each defendant listed below intentionally committed the

tort of battery under F|orida law on the Plaintiff?

A. Andrew P. Smith YES NO \/
s. R. J. eonsail YEs No \/
C. Michael Riley YES NO f

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D. DarrellKennington YES NO \/
E. oarenvvmiams YEs No /
F. .iason sum YEs No /

 

STOP AND READ CAREFULLY: if you answered "YES" to any of the foregoing questions,
continue to question 5. lf you did not answer "YES" to any of the foregoing questions, skip
question 5 and proceed to question 6.

5. As to only those defendants for which you answered “YES" in questions 1, 2, 3, or
4 above, that such defendants act(s) or failure to act was the proximate or legal
cause of damages sustained by the P|aintiff?

A. Andrew P. Smith YES _ NO _
B. R. J. Bonsa|l YES __ NO _
C. l‘vlichael Riley YES _ NO ___
D. Darre|l Kennington YES ______ NO _
E. Daren Wiiliarns YES _ NO __
F. Jason Si|cox YES ____ NO _
G. K. N. Lingis YES F__ NO _
H. W. Godwin YES _ NO ._____
|. T. A. Fow|er YES _ NO _
J. Nurse T. M. Parrish \’ES _ NO _

[Continue to the next question.]

6. That, on August 30, 2007, when Nurse T. Nl. Parrish examined the F’laintiffl he
showed deliberate indifference to the Plaintiff’s serious medical needs in violation
of the Plaintiff’s federal constitutional rights?

YES NO x

[lfyou answered “YES” to question 6, continue to the nextquestion. lf you answered “NO"
to question 6, skip the next question and proceed to question B.]

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7. That, on August 30, 2007, Nurse T. lvl. Parrish's act(s) or failure to act was the
proximate or legal cause of damages sustained by the P|aintiff?

YES NO

[Contin ue to the next question.]

8. That, on August 31, 2007, when William Mathews, F’.A., examined the Plaintiff, he
showed deliberate indifference to the Plaintiff's serious medical needs in violation
of the Plaintiff's federal constitutional rights?

YEs No §

[lf you answered "YES" to question 8, continue to the next question. lf you answered “NO"
to question 8, skip the next question and proceed to the instructions priorto question 10.]

9. Thatl on August 31, 2007, Wiiliam Mathews‘s act(s) or failure to act was the
proximate or legal cause of damages sustained by the P|aintiff?

YES NO

STOP AND READ CAREFULLY: Answer question 10.A. only ifyou answered “YES"to any
part of questions 5, 7, or 9. lf you did not answer "YES“ to any part of questions 5, 7. or 9,
do not answer any part ofquestion 10, and the foreperson should sign and date this verdict
form on the last page.

10. Damages:

A. As a result of any of the defendants' act(s) orfailure to act, that the Plaintiff
incurred a physical injury that was more than a de minimis injury'?

YES NO

 

 

[|f you answered "YES” to question 10.A., continue to questions 10.B. and 10.C. if you
answered "NO" to question 10.A., do not answer any more questions and have the
foreperson sign and date this verdict form on the last page.]

B. As to only those defendants for which you answered "YES" in questions 5,
7, or 9: That the Piaintiff should be awarded damages to compensate for his
physical injury as well as emotional pain and mental anguish against such
defendants?

i. Andrew P. Smith YES NO

if "YES," in what amount:$

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ii. R. J. Bonsall YES NO

 

 

lf “YES,” in what amount:$

iii. Michael Ri|ey YES NO

 

 

if “YES,” in what amount:$

iv. Darre|| Kennington YES NO

 

 

|f “YES,” in what amount:$

v. Daren Wil|iams YES NO

 

 

lf “YES,” in what amount:$

vi. Jason Silcox ¥ES NO

 

 

lf “YES,” in what amount:$

vii. K.N. Lingis YES NO

 

 

` |f “YES,” in what amount:$

viii. W. Godwin YES NO

 

 

|f “YES,” in what amount:$

ix. T. A. Fow|er YES NO

 

 

if “YES,” in what amount:$
x. Nurse T. M. Parrish YES NO
' if “YES,” in what amount:$

xi. Wil|iam Mathews, P.A. YES NO

 

if "YES." in what amount:$

[Continue to the next question.]

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C. As to only those defendants for which you answered “YES” in questions 5,
7, or 9:l That such defendants acted with malice or reckless indifference to
the P|aintiff's federally protected rights and that punitive damages should be
assessed against such defendant?

i. Andrew P. Smith YES NO

 

|f “YES,” in what amount:$

ii. R. J. Bonsall YES NO

 

 

lf “YES,” in what amount:$

iii. Michael Ri|ey YES NO

 

 

|f “YES,” in what amount:$

iv. Darre|l Kennington YES NO

 

 

if “YES,” in what amount:$

v. Daren Wil|iams YES NO

 

 

lf “YES,” in what amount:$

vi. Jason Silcox YES NO

 

 

if “YES,” in what amount:$

vii. K.N. Lingis YES NO

 

 

|f “YES,” in what amount:$

viii. W. Godwin YES NO

 

 

|f “YES,” in what amount:$

ix. T. A. Fow|er YES NO

 

 

if “YES,” in what amount:$

x. Nurse T. Nl. Parrish YES NO

 

lf “YES,” in what amount:$

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xi. Wil|iam l‘v‘lathewsl P.A. YES NO

if “YES,” in what amount:$
Once this verdict form has been completed, the foreperson should sign and date it.
SO SAY WE ALl. on February q , 2017.

/

F GNAWRE

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Lmu.»e£,uc£ le 2a w .¢./~ c-

